             Case 2:10-cr-00477-MCE Document 300 Filed 07/18/19 Page 1 of 2
PROB 35 (ED/CA)

                       Report and Order Terminating Supervised Release
                               Prior to Original Expiration Date


                                   UNITED STATES DISTRICT COURT
                                                  FOR THE


                              EASTERN DISTRICT OF CALIFORNIA

        UNITED STATES OF AMERICA                      )
                                                      )
                              v.                      )
                                                      )       Docket No.: 0972 2:10CR00477-005
              Nicholas Alexander Roman                )
                                                      )
                                                      )


On November 27, 2012, the above-named was sentenced to Supervised Release for a period of 60
months. Supervision commenced on June 5, 2016.


The supervisee has complied with the rules and regulations of Supervised Release and is no longer
in need of supervision. It is accordingly recommended that the supervisee be discharged from
supervision.

                                           Respectfully submitted,


                                                                for
                                              Karen Y. Lucero
                                       United States Probation Officer

Dated:            July 8, 2019
                  Sacramento, California
                  KYL/sc



 REVIEWED BY:                  Ronnie Preap
                               Supervising United States Probation Officer




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                                                                         EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)



Re:        Nicholas Alexander Roman
           Docket No: 0972 2:10CR00477-005
           Report and Order Terminating Supervised Release
           Prior to Original Expiration Date




                                       ORDER OF COURT

Pursuant to the above report, it is ordered that Nicholas Alexander Roman be discharged from
Supervised Release, and that the proceedings in the case be terminated.

Dated: July 17, 2019



cc:        AUSA – Michael D. Anderson
           FLU Unit – United States Attorney’s Office
           Fiscal Clerk - Clerk's Office
           Supervisee - Nicholas Alexander Roman




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                                                                                              Rev. 06/2015
                                                                 EARLY TERMINATION ~ ORDER (PROB35).DOTX
